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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOURTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

ROBERTO GUAJARDO                                     §
    Plaintiff,                                       §
                                                     §
v.                                                   §                          4:20-cv-4006
                                                              CIVIL ACTION NO. _____________
                                                     §
FIESTA MART, LLC                                     §
     Defendant.                                      §

               DEFENDANT FIESTA MART, L.L.C.’S NOTICE OF REMOVAL

          Defendant Fiesta Mart, L.L.C. (“Fiesta”) hereby removes this action from the Harris

County Court at Law No. 4, to this Court, pursuant to and in accordance with 28 U.S.C. §§ 1332

1441, and 1446. As grounds for removal, Fiesta states as follows:

                                                    I.
                                                  FACTS

          1.      On October 16, 2020, Plaintiff Roberto Guajardo (“Plaintiff”) filed a lawsuit in the

Harris County Court at Law No. 41 (Cause No. 1160241) against Fiesta (“Lawsuit”).1 Plaintiff

seeks to recover damages arising from an alleged personal injury incident that occurred on July

11, 2020, at Fiesta’s store located at 1020 Quitman Street, Houston, Texas 77009. Specifically, in

his Petition, Plaintiff asserts claims for negligence, gross negligence, and premises liability. He

seeks monetary relief of $100,000.

          2.      Plaintiff served Fiesta with the Lawsuit on October 29, 2020.2

          3.      Fiesta timely answered in state court on November 20, 2020.3



1
    Exhibit 3: Plaintiff’s Original Petition [hereinafter “Pet.”].
2
    Exhibit 4: Executed Citation for Fiesta Mart, LLC.
3
    Exhibit 6: Defendant Fiesta Mart, LLC’s Original Answer.

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                                               II.
                                     TIMELINESS OF REMOVAL

       4.      Generally, a defendant is required to file a notice of removal of a civil action within

thirty (30) days after the receipt by the defendant of a copy of the initial pleading setting forth the

claim for relief upon which such action or proceeding is based. 28 U.S.C. § 1446(b)(1). Plaintiff

served Fiesta on October 29, 2020. Thus, the filing of this notice of removal is timely.

                                                 III.
                                                VENUE

       5.      Venue for removal is proper in this district pursuant to 28 U.S.C. § 1446(a) because

the state court in which this action has been pending is located in this district and division.

                                              IV.
                                     DIVERSITY JURISDICTION

       6.      A civil action initially filed in a state court is removable if the action is one over

which “the district courts of the United States have original jurisdiction . . . .” 28 U.S.C. § 1441(a).

District courts “have original jurisdiction of all civil actions where the amount in controversy

exceeds the sum of $75,000, exclusive of interest and costs, and is between . . . citizens of different

States . . . .” 28 U.S.C. § 1332(a)(1).

       7.      This action is removable because (1) this action is between a citizen of Texas and

a citizen of different states (Delaware and California) and (2) the amount in controversy exceeds

$75,000. 28 U.S.C. § 1332(a)(1).

A. This action is between citizens of different states.

       8.      Diversity exists when the amount in controversy is $75,000 and the citizenship of

each plaintiff is diverse from the citizenship of each defendant. 28 U.S.C. § 1332(a)(1).



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1. Plaintiff’s Citizenship

          9.      The Petition alleges that Plaintiff is a resident of Texas.4 Accordingly, Fiesta is

informed and believes that Plaintiff was a citizen of the State of Texas at the time he filed and

served his Petition and that Plaintiff continues to be a citizen of the State of Texas as of the filing

of this Notice of Removal. See Stine v. Moore, 213 F.2d 446, 488 (5th Cir. 1954).

2. Defendant Fiesta’s Citizenship

          10.     Fiesta is now, and was at the time the case commenced, diverse in citizenship from

Plaintiff.

          11.     Fiesta Mart, L.L.C., the Defendant, is a limited liability company. Therefore, its

citizenship is determined by the citizenship of its members. See, e.g., Harvey v. Grey Wolf Drilling

Co., 542 F.3d 1077, 1080 (5th Cir. 2008). The sole member of Fiesta Mart, L.L.C. is Bodega

Latina Corp., a corporation incorporated under the laws of the State of Delaware with its principal

place of business, now and when the case commenced, in California.5 The corporate structure of

Fiesta has not changed since the time the affidavit included as Exhibit 9 was executed. Because

Fiesta takes the citizenship of its sole member, Fiesta is therefore a citizen of Delaware and

California and of no other state. See Harvey, 542 F.3d at 1080.

          12.     Accordingly, complete diversity exists as the parties are citizens of different states.

28 U.S.C. § 1332(a)(1).

B. The amount in controversy exceeds $75,000.

          13.     To show that all the requisites for federal jurisdiction are met, a removing party

must demonstrate that the amount in controversy exceeds $75,000. See 28 U.S.C. § 1332(a);


4
    Exhibit 3: Pet. at p. 1.
5
    Exhibit 9: Affidavit of Michael Saltzstein.

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Garcia v. Koch Oil Co. of Texas Inc., 351 F.3d 636, 638 (5th Cir. 2003). The amount is

controversy is ordinarily established on the face of the complaint and the dollar-amount actually

claimed. See id. (citing St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938));

Allen v. R & H Oil and Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995).

          14.      Here, the Petition states that Plaintiff seeks “only monetary relief of $100,000 or

less, including damages of any kind, costs, expenses, pre-judgment interest, and attorney fees.”6

Accordingly, the amount in controversy that Plaintiff seeks from Fiesta exceeds $75,000, and the

amount in controversy requirement is satisfied. See Lopez v. Wal-Mart Stores, Inc., No. CV-B-

15-174, 2016 WL 1104884, at *3 n.2 (S.D. Tex. Jan. 15, 2016) (citing Luckett v. Delta Airlines,

Inc., 171 F.3d 295, 298 (5th Cir. 1999)) (finding that assertion of “only monetary relief of $100,000

or less, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and

attorney fees” satisfies the amount in controversy requirement).

                                                  V.
                                                NOTICE

          15.      Pursuant to 28 U.S.C. § 1441(d), and to effect removal, Fiesta, as the removing

party, will promptly give all parties notice of the filing of this Notice of Removal. Fiesta has filed

or will contemporaneously file with the clerk of the state court a notice of the filing of this Notice

of Removal.

                                                VI.
                                  EXHIBITS TO NOTICE OF REMOVAL

          16.      As required by 28 U.S.C. § 1446(a) and Local Civil Rule 81 for the United States

District Court for the Southern District of Texas, Fiesta has attached to this Notice of Removal the

following numbered exhibits:


6
    Exhibit 3: Pet., at p. 2.

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           a. Exhibit 1: Index of documents being filed;

           b. Exhibit 2: The docket sheet for Cause No. 1160241: Roberto Guajardo v. Fiesta
              Mart, LLC; in the County Court at Law No. 1 for Harris County, Texas;

           c. Exhibit 3: Plaintiff’s Original Petition, filed October 16, 2020;

           d. Exhibit 4: Executed Citation for Fiesta Mart, LLC;

           e. Exhibit 5: Order for Trial Setting;

           f. Exhibit 6: Defendant Fiesta Mart, LLC’s Original Answer;

           g. Exhibit 7: List of Counsel of Record;

           h. Exhibit 8: Notice of Removal in State Court; and

           i. Exhibit 9: Affidavit of Michael Saltztein.

                                        CONCLUSION

       WHEREFORE, Defendant Fiesta Mart, L.L.C. respectfully removes this action, Cause No.

1160241, from the Harris County Court at Law No. 4, to the United States District Court for the

Southern District of Texas.




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                                      Respectfully submitted,

                                      By:    /s/ David Toney
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                                      ATTORNEYS FOR DEFENDANT
                                      FIESTA MART, LLC




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                                   CERTIFICATE OF SERVICE

       The undersigned Counsel hereby certifies that the foregoing has been served via ECF and/or
email on this 24th day of November 2020, to the following:


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                                                    /s/ David Toney
                                                    David Toney




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